






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00697-CV





Jesus Alfredo Soto, Sr., Appellant


v.



Blane Schvaneveldt Racing Stable, Inc. and Raymond Daniel, Jr.,

King County Sheriff, Appellees




FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT


NO. D-1-GN-06-000463, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	This appeal was stayed on April 12, 2007, as a result of Appellant Jesus Alfredo
Soto, Sr.'s notice of filing bankruptcy.  On January 22, 2008, the parties filed an agreed motion
to re-instate and then dismiss this appeal.  In the motion, the parties state that appellant's
bankruptcy proceeding has been dismissed and that they seek reinstatement and dismissal of the
instant appeal.  We grant the parties' motion; we re-instate and dismiss the appeal.  See Tex. R.
App. P. 8.3, 42.1(a).


					__________________________________________

					Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Dismissed on Agreed Motion

Filed:   February 8, 2008


